
The President pronounced the opinion of the court that the decree be reversed, and the injunction made perpetual against all the defendants, except the appellant; and “it was decreed that the appellee, John Woody, administrator de bonis non of Harriett Bowles, deceased, deliver over to the appellant the estate of the said Harriett, upon his entering into bond, payable to the appellee, Woody, with security to be approved of by the said court of chancery, in such penalty as that court may direct, conditioned to refund the said estate, or such part thereof as may be necessary, towards payment of such debts as the said Woody may hereafter be compelled to pay for the estate of the said *448Harriett; and that William Barker(executor of Mary Anne Blythe, one of the appellees, as to whom the appeal, which had abated by her death, had been revived,)’ “ out of the estate of the said Mary Anne Blythe, deceased, in bis hands to be administered, (if so much thereof he hath,) and the appellees, (except John Woody,) pay to the appellant his costs by him expended in the said court of chancery. And liberty is reserved to the appellant, and the appellee, Woody, to resort to the said court of chancery for any further directions in the settlement of the said estate.”
